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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


KEITH SNYDER and SUSAN                    )
MANSANAREZ, individually and on behalf of )
all others similarly situated,            )
                                          ) Case No. 1:14-cv-08461
                                          )
                Plaintiffs,               )
                                          )
                                            Honorable Matthew F. Kennelly
                                          )
        v.                                )
                                          )
                                          ) Consolidated
                                          )
OCWEN LOAN SERVICING, LLC,
                                          )
                                          )
                                          )
                Defendant.                )
                                         )
                                         )
TRACEE A. BEECROFT, on behalf of herself )
and all others similarly situated,
                                         ) Case No. 1:14-cv-08461
                Plaintiff,               )
                                         )
        v.                               )
                                           Honorable Matthew F. Kennelly
                                         )
OCWEN LOAN SERVICING, LLC,               )
                                         )
                Defendant.               ) Consolidated
                                         )



            ORDER (1) CONDITIONALLY CERTIFYING A SETTLEMENT
       CLASS, (2) PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT,
 (3) APPROVING NOTICE PLAN, AND (4) SCHEDULING FINAL APPROVAL HEARING

       Upon review and consideration of Plaintiffs’ Motion for Preliminary Approval of Class

Action Settlement, including the Parties’ Settlement Agreement and Release (the “Settlement
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Agreement” or “Agreement”) and all exhibits thereto, and the arguments of counsel, and having

been fully advised in the premises, it is HEREBY ORDERED, ADJUDGED and DECREED as

follows:

       1.      Settlement Terms. Unless otherwise defined herein, all capitalized terms in this

Order shall have the meanings ascribed to them in the Agreement.

       2.      Jurisdiction. The Court has jurisdiction over the subject matter of the

Consolidated Litigation, the Parties, and all members of the Settlement Class.

       3.      Scope of Settlement. The Agreement resolves all Released Claims against (a)

Ocwen and each of its respective divisions, parents, subsidiaries, predecessors, investors, parent

companies, and Affiliates, whether past or present, any direct or indirect subsidiary of Ocwen

and each of their respective divisions, parents, subsidiaries, predecessors, investors, parent

companies, and Affiliates, whether past or present, and all of the officers, directors, employees,

agents, brokers, distributors, representatives, and attorneys of all such entities; (b) any person or

entity making calls to Settlement Class Members on behalf of Ocwen, and all of the officers,

directors, employees, agents, brokers, distributors, representatives, and attorneys of all such

entities, and (c) any trustee of a mortgage securitization trust which included loans made to any

Settlement Class Member, including, but not limited to, any direct or indirect subsidiary of any

of them, and all of the officers, directors, employees, agents, brokers, distributors,

representatives, and attorneys of all such entities. The Agreement does not resolve Settlement

Class Members’ claims that are not Released Claims, including those brought under the Fair

Debt Collection Practices Act, and the Released Persons specifically do not include Altisource

Portfolio Solutions S.A., Altisource Solutions S.à r.l., Altisource Business Solutions Pvt. Ltd., or

any other Affiliate or member of the Altisource family of companies.



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         4.     Preliminary Approval of Proposed Settlement. The Court has conducted a

preliminary evaluation of the Settlement as set forth in the Agreement. Based on this

preliminary evaluation, the Court finds that: (a) the Settlement is fair, reasonable and adequate,

and within the range of possible approval; (b) the Settlement has been negotiated in good faith at

arm’s length between experienced attorneys familiar with the legal and factual issues of this

case; (c) with respect to the forms of notice of the material terms of the Settlement to persons in

the Settlement Class for their consideration (Exs. A, B, and C to the Agreement), that notice

provides due and sufficient notice to the Settlement Class and fully satisfies the requirements of

due process and Federal Rule of Civil Procedure 23; and (d) with respect to the proposed notice

plan, the notice program constitutes the best notice practicable under the circumstances.

Therefore, the Court grants preliminary approval of the Settlement.

         5.     Class Certification for Settlement Purposes Only. Pursuant to Rule 23 of the

Federal Rules of Civil Procedure, the Court conditionally certifies for purposes of this Settlement

only, the following Settlement Class:

         All persons who were called by Ocwen on the 1,685,757 unique cell phone
         numbers listed on Exhibit G to the Settlement Agreement (filed with the Court
         under seal) using its Aspect dialing system between October 27, 2010 and through
         and including the date of the Preliminary Approval Order (“Settlement Class
         Period”). Excluded from the Settlement Class are: (i) those persons who were
         called by Ocwen using its Aspect dialing system during the Settlement Class
         Period only on numbers not included on Exhibit G; (ii) individuals who are or
         were during the Settlement Class Period officers or directors of Ocwen or any of
         its Affiliates; (iii) any justice, judge, or magistrate judge of the United States or
         any State, their spouses, and persons within the third degree of relationship to
         either of them, or the spouses of such persons; and (iv) all individuals who file a
         timely and proper request to be excluded from the Settlement Class.

         6.     The Court makes the following determinations as to certification of the Settlement

Class:




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                 a.     The Settlement Class is so numerous that joinder of all members is

impracticable;

                 b.     There are questions of law or fact common to the members of the

Settlement Class;

                 c.     The claims of the Plaintiffs are typical of the claims of the other members

of the Settlement Class;

                 d.     Plaintiffs are capable of fairly and adequately protecting the interests of

the members of the Settlement Class, in connection with the Settlement Agreement;

                 e.     Common questions of law and fact predominate over questions affecting

only individual members of the Settlement Class;

                 f.     The Settlement Class is ascertainable; and

                 g.     Resolution of the Released Claims in this Consolidated Litigation by way

of a nationwide settlement is superior to other available methods for the fair and efficient

resolution of the claims of the Settlement Class.

       7.        Designation of Class Representatives. The Court appoints Plaintiffs Keith

Snyder, Susan Mansanarez, and Tracee A. Beecroft as representatives of the Settlement Class

(“Class Representatives”) for the sole purpose of seeking a settlement of the Consolidated

Litigation.

       8.        Designation of Class Counsel. The law firms of Burke Law Offices, LLC,

Terrell Marshall Law Group PLLC, Ankcorn Law Firm PLLC, The Cabrera Firm, APC, and

Heaney Law Firm, LLC, are hereby designated as Class Counsel for the Settlement Class.

       9.        Final Approval Hearing. A hearing regarding final approval of the Settlement

will be held at 9:30 a.m. on April 5, 2018 to determine, among other things, whether to: (i)



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finally approve the Settlement as fair, reasonable, and adequate; (ii) dismiss the Released Claims

in the Consolidated Litigation with prejudice pursuant to the terms of the Settlement Agreement;

(iii) bind Settlement Class Members by the Releases set forth in the Settlement Agreement; (iv)

permanently bar Settlement Class Members who have not opted out of the Settlement from

filing, commencing, prosecuting, intervening in, or participating in (as class members or

otherwise) any action in any jurisdiction based on the Released Claims; (v) find that the Class

Notice as given was the best notice practicable under the circumstances, is due and sufficient

notice to the Settlement Class, and fully satisfies the requirements of due process and Federal

Rule of Civil Procedure 23; (vi) approve the plan of distribution of the Settlement Fund; (vii)

finally certify the Settlement Class; and (viii) approve requested Attorneys’ Fees and Expenses

and the proposed Incentive Awards to Plaintiffs.

       10.     Settlement Administrator. Epiq Systems is hereby appointed as the Settlement

Administrator and shall be required to perform all the duties of the Settlement Administrator as

set forth in the Agreement and this Order.

       11.     Class Notice.

               a.     The Court approves the Class Notice in the Settlement Agreement,

including the Mail, Email, and Website Notices attached as Exhibits A, B, and C to the

Settlement Agreement and the manner of providing Mail Notice, Email Notice, and Internet

Advertising to Settlement Class Members described in Section 6 of the Settlement Agreement.

The Court finds that this is the best practicable notice under the circumstances and is reasonably

calculated, under all the circumstances, to apprise the Settlement Class Members of the pendency

of this Action, the terms of the Settlement Agreement, and their right to object to the Settlement

Agreement or exclude themselves from the Settlement Class. The Court further finds that the



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Mail, Email, and Website Notices are reasonable, constitute due, adequate, and sufficient notice

to all persons entitled to receive notice, and meet the requirements of due process. The Court

hereby directs the Parties and the Settlement Administrator to complete all aspects of the Notice

Plan no later than November 20, 2017 (“Notice Deadline”).

               b.     The Settlement Administrator will file with the Court by no later than

March 22, 2018, which is fourteen (14) days prior to the Final Approval Hearing, proof that

notice was provided in accordance with the Agreement and this Order.

               c.     Ocwen shall comply with the obligation to give notice under the Class

Action Fairness Act, 28 U.S.C. § 1715, in connection with the proposed settlement. No later

than 10 calendar days before the Final Approval Hearing, by March 26, 2018, counsel for Ocwen

shall file with the Court one or more declarations stating that Ocwen has complied with its notice

obligations under 28 U.S.C. § 1715.

       12.     Exclusion from the Settlement Class. Any potential Settlement Class Member

who wishes to be excluded from the Class must send a written Request for Exclusion to the

Settlement Administrator, by first-class mail, postage prepaid, to the address provided in the

Mail Notice and Settlement Website. Any such Request for Exclusion must be postmarked no

later than ninety (90) Days after the Mail Notice Deadline.

               a.     To be valid, the Request for Exclusion must: (a) identify the name and

address of the potential Settlement Class Member requesting exclusion; (b) provide the cell

phone number(s) at which that potential Settlement Class Member was called by Ocwen during

the Settlement Class Period; (c) be personally signed by the potential Settlement Class Member

requesting exclusion; and (d) contain a statement that reasonably indicates a desire to be

excluded from the Settlement. Mass or class opt-outs shall not be allowed.



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               b.      Except for those potential members of the Settlement Class who timely

and properly file a Request for Exclusion, all other potential members of the Settlement Class

will be deemed to be Settlement Class Members for all purposes under the Agreement, and upon

Final Approval, will be bound by its terms, regardless of whether they receive any monetary

relief or any other relief, including, but not limited to, the Releases in Section 10 of the

Settlement Agreement.

               c.      If 4,000 or more potential members of the Settlement Class properly and

timely opt out of the Settlement, then the Settlement may be deemed null and void upon notice

by Ocwen without penalty or sanction.

       13.     Objections and Appearances. Any Settlement Class Member who has not filed

a timely written Request for Exclusion and who complies with the requirements of this

Paragraph may object to any aspect of the proposed Settlement either on his or her own or

through an attorney hired at his or her expense. Any Settlement Class Member who wishes to

object to the Settlement must do so in writing not later than ninety (90) Days after the Mail

Notice Deadline, as specified in the Class Notice and this Preliminary Approval Order. The

written objection must be filed with the Clerk of Court, and mailed (with the requisite postmark)

to Class Counsel and Defense Counsel, no later than ninety (90) Days after the Mail Notice

Deadline, at the following addresses:

               Class Counsel

               Alexander H. Burke
               Burke Law Offices, LLC
               155 N. Michigan Ave., Suite 9020
               Chicago, Illinois 60601




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               Beth E. Terrell
               Terrell Marshall Law Group PLLC
               936 North 34th Street, Suite 300
               Seattle, Washington 98103-8869

               Counsel for Plaintiffs and Settlement Class

               Defense Counsel

               Brian V. Otero
               Hunton & Williams LLP
               200 Park Avenue, 52nd Floor
               New York, NY 10166

               Counsel for Ocwen

       14.     A valid written objection must include: (a) the name, address, and telephone

number of the objecting Settlement Class Member and, if different, the cellular telephone

number at which the Settlement Class Member was called by Ocwen during the Settlement Class

Period; (b) if represented by counsel, the name, address, and telephone number of his or her

counsel; (c) the basis for the objection; and (d) a statement of whether the Settlement Class

Member objecting intends to appear at the Final Approval Hearing, either with or without

counsel;

       15.     Any Settlement Class Member who fails to object to the Settlement in the manner

described in the Class Notice and in this Order shall be deemed to have waived any such

objection, shall not be permitted to object to any terms or approval of the Settlement at the Final

Approval Hearing, and shall be foreclosed from seeking any review of the Settlement or the

terms of the Agreement by appeal or other means;

       16.     Subject to approval of the Court, any Settlement Class Member who files and

serves a written objection in accordance with Section 12 of the Settlement Agreement and the

Class Notice may appear, in person or by counsel, at the Final Approval Hearing held by the

Court, to show cause why the proposed Settlement should not be approved as fair, adequate, and
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reasonable, but only if the objecting Settlement Class Member: (a) files with the Clerk of the

Court a notice of intention to appear at the Final Approval Hearing by the Objection Deadline

(“Notice Of Intention To Appear”); and (b) serves the Notice of Intention to Appear on all

counsel designated in the Class Notice by the Objection Deadline. The Notice of Intention to

Appear must include copies of any papers, exhibits, or other evidence that the objecting

Settlement Class Member will present to the Court in connection with the Final Approval

Hearing. Any Settlement Class Member who does not file a Notice of Intention to Appear in

accordance with the deadlines and other specifications set forth in the Agreement and Class Notice

shall not be entitled to appear at the Final Approval Hearing or raise any objections.

        17.     Service of Papers. Defense Counsel and Class Counsel shall serve on each other

and on all other parties who have filed notices of appearance, at or before the Final Approval

Hearing, any further documents in support of the proposed Settlement, including responses to

any papers filed by Settlement Class Members. Defense Counsel and Class Counsel shall

promptly furnish to each other any and all objections or written requests for exclusion that may

come into their possession and shall file such objections or requests for exclusion with the Court

on or before the date of the Final Approval Hearing.

        18.     Termination of Settlement. This Order shall become null and void, and shall be

without prejudice to the rights of the Parties, all of whom shall be restored to their respective

positions existing immediately before this Court entered this Order, if (i) the proposed Settlement

is not finally approved by the Court, or does not become Final, pursuant to the terms of the

Settlement Agreement; or (ii) the Settlement Agreement is terminated pursuant to the terms of

the Settlement Agreement for any reason. In such event, and except as provided therein, the

proposed Settlement and Settlement Agreement shall become null and void and be of no further

force and effect; the preliminary certification of the Settlement Class for settlement purposes

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shall be automatically vacated; neither the Settlement Agreement nor the Court’s orders,

including this Order, shall be used or referred to for any purpose whatsoever; and the Parties

shall retain, without prejudice, any and all objections, arguments, and defenses with respect to

class certification.

        19.     Use of Order Following Termination of Settlement. This Order shall be of no

force and effect if the Settlement does not become Final. This Order shall not be offered by any

person as evidence in any action or proceeding against any Party hereto in any court,

administrative agency, or other tribunal for any purpose whatsoever, other than to enforce or

otherwise effectuate the Settlement Agreement (or any agreement or order relating thereto),

including the Releases, or this Order. Neither shall this Order be offered by any person or

received against any of the Released Parties as evidence or construed as or deemed to be

evidence of any presumption, concession, or admission by any of the Released Parties of:

                a.     the truth of the facts alleged by any person or the validity of any claim that

has been or could have been asserted in the Consolidated Litigation or in any litigation, or other

judicial or administrative proceeding, or the deficiency of any defense that has been or could

have been asserted in the Consolidated Litigation or in any litigation, or of any liability,

negligence, fault or wrongdoing of any of the Released Parties;

                b.     any fault, misrepresentation, or omission with respect to any statement or

written document approved or made by any of the Released Parties or any other wrongdoing by

any of the Released Parties; or

                c.     any liability, negligence, fault, or wrongdoing in any civil, criminal, or

administrative action or proceeding by any of the Released Parties.




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        20.      Necessary Steps. The Court authorizes the Parties to take all necessary and

appropriate steps to implement the Settlement Agreement.

        21.      Schedule of Future Events. Accordingly, the following are the deadlines by

which certain events must occur:

November 20, 2017                          Deadline for notice to be provided in accordance with the
                                           Agreement and this Order (Notice Deadline)
[45 days after the date of this Order]

December 20, 2017                          Deadline for filing of Plaintiff’s Motion for Attorneys’ Fees
                                           and Costs and Service Award
[30 days after the Notice Deadline]

February 19, 2018                          Deadline to file objections or submit requests for exclusion
                                           (Opt-Out and Objection Deadline)
[90 days after the Notice Deadline]

February 19, 2018                          Deadline for Settlement Class Members to Submit a Claim
                                           Form (Claim Period)
[90 days after the Notice Deadline]

February 28, 2018                          Deadline to File Motion for Final Approval

[100 days after the Notice deadline]

February 21, 2018                          Deadline for Settlement Administrator to Provide Class
                                           Counsel with Proof of Class Notice, Identifying the Number
[7 Days Prior to Filing Motion for Final   of Requests for Exclusion, and Number of Claims Received
Approval]

March 26, 2018                             Ocwen Shall File with the Court One or More Declarations
                                           Stating that Ocwen has Complied with its Notice
[10 Calendar Days Prior to Final           Obligations
Approval Hearing]

April 5, 2018 at 9:30 a.m.                 Final Approval Hearing

[No earlier than 120 days after Notice
Deadline]




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DONE and ORDERED in Chambers in Chicago, Illinois, this 5th day of October, 2017.



                                         ________________________________________
                                         Matthew F. Kennelly
                                         UNITED STATES DISTRICT JUDGE


cc: All Counsel of Record




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